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                                     UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF NORTH CAROLINA

IN RE:
   MICHAEL WAYNE HAITH                                             CASE NO. 20-10866
   5009 MS. FULLER ROAD                                            JUDGE BENJAMIN A. KAHN
   MEBANE, NC 27302

               DEBTOR

   SSN(1) XXX-XX-4225                                              DATE: 06/11/2021


                                             REPORT OF FILED CLAIMS

     Pursuant to 11 U.S.C. §704(5), the trustee has examined the proofs of claims filed in this case and objected to the
allowance of such claims as appeared to be improper except where no purpose would have been served by such
objection. After such examination and objections, if any, the trustee states that claims should be deemed allowed or “not
filed” as indicated below.

NAME & ADDRESS OF CREDITOR                                      AMOUNT      CLASSIFICATION
ALAMANCE CO REGISTER OF DEEDS                                    $52.00     (Z) SPECIAL COST ITEM
P O BOX 837                                                   INT: .00%
GRAHAM, NC 27253                                          NAME ID: 1735     ACCT:
                                                          CLAIM #: 0008     COMMENT:
ALAMANCE COUNTY TAX                                                $0.00    (P) PRIORITY
124 W ELM STREET                                              INT: .00%     NOT FILED
GRAHAM, NC 27253                                          NAME ID: 2794     ACCT:
                                                          CLAIM #: 0001     COMMENT: OC
DIRECTV LLC                                                     $550.08     (U) UNSECURED
BY AMERICAN INFOSOURCE AS AGENT                              INT: .00%
P O BOX 5072                                           NAME ID: 179272      ACCT: 3778
CAROL STREAM, IL 60197-5072                              CLAIM #: 0007      COMMENT:
INTERNAL REVENUE SERVICE                                          $0.00     (P) PRIORITY
P O BOX 7346                                                 INT: .00%      NOT FILED
PHILADELPHIA, PA 19101-7346                            NAME ID: 123770      ACCT: 4225
                                                         CLAIM #: 0002      COMMENT: OC
JEFFERSON CAPITAL SYSTEMS LLC                                 $5,600.49     (U) UNSECURED
P O BOX 772813                                               INT: .00%
CHICAGO, IL 60677-2813                                 NAME ID: 158804      ACCT: 4183
                                                         CLAIM #: 0006      COMMENT: COD,421TFCL
MARINER FINANCE LLC                                           $3,946.28     (U) UNSECURED
8211 TOWN CENTER DR                                          INT: .00%
NOTTINGHAM, MD 21236                                   NAME ID: 149311      ACCT: 9891
                                                         CLAIM #: 0004      COMMENT: COD
N C DEPARTMENT OF REVENUE                                          $0.00    (P) PRIORITY
BANKRUPTCY UNIT                                               INT: .00%     NOT FILED
P O BOX 1168                                              NAME ID: 9699     ACCT: 4225
RALEIGH, NC 27602-1168                                    CLAIM #: 0003     COMMENT: OC
ONEMAIN FINANCIAL GROUP LLC                                  $10,097.32     (U) UNSECURED
P O BOX 3251                                                 INT: .00%
EVANSVILLE, IN 47731-3251                              NAME ID: 162216      ACCT: 5185
                                                         CLAIM #: 0005      COMMENT: COD
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NAME & ADDRESS OF CREDITOR                         AMOUNT       CLASSIFICATION
UNC HEALTHCARE                                     $3,453.86    (U) UNSECURED
P O BOX 1123                                      INT: .00%
MINNEAPOLIS, MN 55440-1123                  NAME ID: 170446     ACCT: 4225
                                              CLAIM #: 0009     COMMENT:
VERIZON BY AMERICAN INFOSOURCE AS                    $116.42    (U) UNSECURED
AGENT                                             INT: .00%
P O BOX 4457                                NAME ID: 176005     ACCT: 0001
HOUSTON, TX 77210-4457                        CLAIM #: 0010     COMMENT:

TOTAL:                                             $23,816.45
DAMON DUNCAN ESQ                                   $4,000.00    ATTORNEY FEE
628 GREEN VALLEY RD STE 304
GREENSBORO, NC 27408




                                                                ANITA JO KINLAW TROXLER,
                                                                TRUSTEE
                                                                500 W FRIENDLY AVE STE 200
                                                                P O BOX 1720
                                                                GREENSBORO, NC 27402-1720
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                                NOTICE OF FILING OF REPORT OF FILED CLAIMS

    The foregoing Report of Filed Claims has been filed with the Bankruptcy Court based on an audit of claims filed in
the Trustee’s office. The claims are allowed unless objection is made by the Debtor or other party in interest.

    Any objection to a claim should be filed in writing with the Bankruptcy Court at the address below and a copy must
be served on the Trustee:

                                      Clerk, U.S. Bankruptcy Court
                                      101 S. Edgeworth Street
                                      P.O. Box 26100
                                      Greensboro, NC 27420-6100

    If an objection is filed, a hearing will be scheduled before the Court.       The Trustee will continue making
disbursements on the claims unless an objection is filed.




Date: 06/11/2021                                                      OFFICE OF THE CHAPTER 13 TRUSTEE

                                                                 By: /s/ Gayle McFarland
                                                                     Clerk
                                                                     Chapter 13 Office
                                                                     500 W FRIENDLY AVE STE 200
                                                                     P O BOX 1720
                                                                     GREENSBORO, NC 27402-1720

cc: Debtor
    Attorney for Debtor - Electronic Notice
